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DacSimile;: 415/472~7713
Counsel for Plaintiffs
UNITED STATES DISTRICT COURT
SCUTHERN MB EY "1899 (g JAH)

ERIC GRANT, File No. (

Lead Plaintiff, ¢ ACTION

Vv. COMPLAINT FOR:
1) VIOLATION OF THE SECURITIES

DOUGLAS R. BAFTZ, GLENN M. EXCHANGE ACT OF 19334;

GALLANT, COLUMBIA CAPITAL CORP., } 2) VIOLATION OF CALIFORNIA

 

 

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3
FIRST INDEPENDENT COMPUTERS ) CORPORATIONS CODE SECTION
CORP., and DOES 1 - 100, ) 25400 ET SEQ.;
) 3)VICLATION OF THE RACKETEER
Defendants. ) INFLUENCED CORRUPT
} ORGANIZATIONS ACT;
) 4) FRAUD;
) 5) CONSPIRACY;
) 6) VIOLATION OF CALIFORNIA
) BUSINESS AND PROFESSIONS
) CODE SECTION 17200 ET SEO.
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l JURISDICTION AND VENUE
2 1. Jurisdiction is conferred by §27 of the Securities
3 |} Exchange Act of 1934 ("1934 Act"). The claims asserted herein

4 || arise under §§10(b) and 20(a) of the 1934 Act and SEC Rule 10b-5.
S}}Further jurisdiction is conferred pursuant to the Racketeer
6} Influenced Corrupt Organizations Act (“RICO”). The claims asserted
7 therein further arise under of RICO. Further jurisdiction is
8 | confrred by supplemental or pendent jusrisdiction as to Plaintiffs’
9} state law claims.
19 2. Venue is proper in this District pursuant to §Z7 of the
111934 Act. Defendants further sold or caused to be sold securities
12} in Columbia Capital Corp. to investors residing in this District
13] and issued false and misleading statements to such investors.
14 THE PARTIES
15 3. Plaintiff Eric Grant purchased or acquired 500 shares of
16] Columbia Capital stock during the Class Period, and suffered
L7 {| damages as a result of violations of the federal securities laws
18 j) alleged herein.
19 4. Defendant Columbia Capital Corp. ({"Columbia"” or the
20] "“Company") a Delaware corporation with its principal executive
21 || offices located in Abilene, Texas, is in the business of credit and
22 debit card services, banking and financial services, and document
23 ||/management and distribution services. Columbia’s common stock
24 trades in an efficient market on the NASDAQ National Market System.
25 8. Defendant Pouglas R. Baetz ("Baetz") was at all relevant
26 ||times a director, officer and principal shareholder of Columbia.

27 ||}He signed Columbia’s relevant shareholder disclosure documents and

28 || SEC reports xzssued during the Class Period.

 

 

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1 é. Defendant Glenn M. Gallant ("Gallant") was at all
2 | relevant times Secretary of Columbia and chairman of the board of
3||directors and a principal shareholder. He signed Columbia’s
4} relevant shareholder disclosure documents and SEC reports issued
5 during the Class Period.
6 7. Defendant First Independent Computers, Inc., a Texas
7 corporation (“FICI”}, is in the business of infcrmation services
8 | and at all times relevant hereto has been a wholly-owned subsidiary
94 cf Columbia.
10 8. The individuals named as defendants in {95-6 abeve are
ll || referred to herein as the “Individual Defendants." The Individual
12 {|| Defendants, because of their positions as high-ranking officers
13 |/and/or directors with the Company, possessed the power and
14 || authority to control the contents of Columbia’s quarterly and
15j} annual reports, SEC filings, press releases and presentations to
16] securities analysts, money and portfolio managers and institutional
17 |}ianvestors, iJ.e., the market. Each defendant was provided with
18 copies of the Company's reports, SEC filings and press releases
19 || alleged herein to be misleading prior to or shortly after their
20} issuance and had the ability and opportunity to prevent their
21] issuance or cause them to be corrected. Because of their positions
22 || and access to material non-public information available to them but
23 j)not to the public, each of these defendants knew that the adverse
24\| facts specified herein had not been disclosed to and were being
25} concealed from the public and that the positive representations
26} which were being made were then materially false and misleading.
27 || The Individual Defendants are liable for the false statements

28] pleaded nerein, as those statements were each "“group-published”

 

 

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1 || information, the result of the collective action of the Individual
2 || Defendants.
3 9. Each defendant is liable for (i) making false statements,
4for (ii) failing to disclose adverse facts known to him about
5 Columbia while selling Columbia stock, or (iii) participating in a
6) fraudulent scheme which permitted defendants to sell shares of
7 f/Columbia stock at artificially inflated prices. Defendants'
8 | fraudulent scheme and course of business that operated as a fraud
9l}or deceit on purchasers of Columbia stock was a success, as it
10 || (1) deceived the investing public regarding Columbia's products and
li |} business; (ii) artificially inflated the price of Columbia's stock
12] and publicly traded options; and (iii) caused Plaintiffs and other
23 /members of the Class to purchase Columbia stock and options at
14 || inflated prices.
15 STATEMENT OF THE CASE
16 10. This is a securities class action on behalf of purchasers
17 || of the common stock and publicly traded options for common stock of
18} Columbia from January 1, 1998 through and including December 31,
19|/1999 (the “Class Period"), against Columbia and certain of its
20 || officers and directors for violations of the 1934 Act.
21 11. Columbia is in the business of credit and debit card
22 {| services, banking and financial services, and document management
23 }/}and distribution services. In connection with these services,
24 Columbia provides its customers with a link between consumers,
25 }merchants and financial institutions by capturing the initial
26 || transaction at the point of sale, giving the merchant credit for

27 || that transaction, posting the transaction to the financial

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institution’s accounts receivables and general ledger, and
ultimately placing the transaction on the customer's statement.
Columbia operates through its wholly-owned subsidiary, First
independent Computers, Inc., a Texas corporation (“FICI“), a multi-
faceted information service company.

12. On April 28, 1997, Defendants Gallant and Baetz purchased
all the common stock of FICI for $1,600,000 in cash. On September
23, 1997, Columbia purchased all of the common stock of FICI from
Defendants Gallant and Baetz in exchange for 10,631,250 shares of
Columbia common stock, which represented approximately 858 of
Columbia’s then issued and outstanding stock.

13. During the Class Period, Columbia's executives issued
extremely positive statements about Columbia's business.

Defendants told investors that Columbia enjoyed strong or

increasing demand for most of its products and services. The
truth, however, contrasted starkly with defendants'
representations.

14. Plaintiffs are informed and believe that Defendants
materially inflated sales and earnings, deceiving the investing
public. Defendants thus caused Columbia's financial results
reported during the Class Period to be in gross violation of
Generally Accepted Accounting Principles ("GAAP"). Defendants
carefully concealed their conduct.

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1 15. Defendants' public statements were materially false. The

2|}effect of this fraud was to inflate Columbia's financial results

3{/and to cause the market to overvalue Columbia stock and options
4 || during the Class Period.

5 DEFENDANTS!’ SCIENTER

6 16. The Individual Defendants had the ability to commit the
7 | fraud complained of, and did, as they were the top executives

8 |} and/or directors of Columbia. Each of the Individual Defendants

9} was in a position to, and did, learn the details of Columbia's
LC |/business condition, financial reporting, operating results,
ll }}prospects, and sales and inventory practices, through numerous
12 | management meetings, through conversations with other executive
13 fofficers and directors, and through the review of regularly
14 || prepared reports that were circulated among defendants and others
i5 || regarding the Company's sales, orders, inventories, products, and
16] financial performance. As Columbia's top executives and/or
17 | directors, the individual Defendants controlled Columbia's publicly
18 |} issued financial statements and the disclosures made in then,
19 | Columbia's public statements, and its SEC filings, and thus could
2O0ftfalsify them. They were involved with important issues facing
21 ]}/ Columbia's business such as directing and managing sales, and
22}issuing Columbia's SEC filings, press releases and financial
23 | statements.
24 17. Not only did defendants learn of the adverse factors
25 | affecting Columbia's business, plaintiffs are informed and believe
26} that they directed steps to conceal these facts from the investing
27 public.

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1 i8. Each of the Individual Defendants, because of their top
2} executive positions with Columbia and involvement in the day-to-day
3} Management of its business, actually knew from conversations with
4] other corporate officers and employees and their attendance at
5 j/management and Board meetings, the adverse non-public information
6 | about Columbia's misleading financial statements, its deteriorating
7 revenue and EPS prospects, the lack of demand for its services.
8 |} Thus, each Individual Defendant actually knew or with deliberate
$j) recklessness disregarded that Columbia’s public statements were

10 false and/or misleading when made.

1i DEFENDANTS' FALSE AND MISLEADING STATEMENTS
D DURING THE CLASS PERIOD

. 19. As part of defendants’ scheme to lead the investing
: public to believe that Columbia’s finances, business and prospects
- for growth were sound, Columbia issue a number of false and
~ misleading statements in, inter alia, reports filed with the SEC,
“s reports to shareholders, and press releases.

vl 20. The positive statements about Columbia's business made by
= defendants during the Class Period were materially false and/or
. misleading when issued, and failed to disclose adverse information
*° which was then known only to defendants due to their access to
t internal Columbia data and which was required to be disclosed to
22 make the statements made not misleading.
°° 21. Columbia’s financial statements and the statements about
“ them were false and misleading, as such financial information was
*° not prepared in conformity with GAAP, nor was the financial
6 information “a fair presentation" of Columbia's operations due to
” Columbia's improper accounting in violation of GAAP and SEC rules.
28

 

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1 22. GAAP are those principles recognized by the accounting
2 {| profession as the conventions, rules and procedures necessary to
3}define accepted accounting practice at a particular time.

4} Regulation S-X (17 C.F.R. §210.4-0l(a) (1)) states that financial

2} statements filed with the SEC which are not prepared in compli
6 || with GAAP are presumed to be misleading and inaccurate. Regula

7 S-X requires that interim financial statements must also co

8 }with GAAP, witn the exception that interim financial statements

9]/need not include disclosure which would be duplicative of
10 | disclosures accompanying annual financial statements. 17 C.F-.R.
11} $210.10-O1{a}.

12 23. Due to accounting improprieties with respect to its
13} income, earnings, services and/or reserves, the Company presented
14f}its financial results and statements in a manner which violated
15 1 GAAP.

16 24. Further, the undisclosed adverse information concealed by
17 # defendants during the Class Period is the type of information
18 ||} which, because of SEC regulations, regulations of the national

19 |} stock exchanges and customary business practice, is expected by

20 |] investors and securities analysts to be disclosed and is known hy

21] corporate officials and their legal and financial advisors t

22||the type of information which is expected to be and must be

23 || disclosed,

24 FIRST CLAIM FOR RELIEF
For Violation Of §10(b) Of The 1934 Act
25 And Rule 10b-5 Against All Defendants
26 25. The preceding and superceding paragraphs are incorporated

27} herein by this reference.

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1 26. During the Class Period, defendants disseminated or

2 || approved the false statements specified above, which they knew or

3 ||} recklessly disregarded were misleading in that they contained

4||misrepresentations and failed to disclose material facts necessary

> || in order to make the statements made, in light of the circumstances

6} under which they were made, not misleading.

7 27. Defendants violated §10(b) of the 1934 Act and Rule l0b-5

8 ||} in that they:

9 {a} Emploved devices, schemes, and artifices to defraud;
10 (b) Made untrue statements of material facts or omitted
lly} to state material facts necessary in order to make statements made,
12]}in light of the circumstances under which they were made, not
13 | misleading; or
14 (¢) Engaged in acts, practices, and a course of business
15 || that operated as a fraud or deceit upon Plaintiffs and others
16 | similarly situated in connection with their purchases of Columbia's
17 |] common stock and publicly traded options during the Class Period.
18 28. Plaintiffs and the Class have suffered damages in that,
19 |} in reliance on the integrity of the market, they paid artificially
20 | inflated prices for Columbia stock and options. Plaintiffs and the
21] Class would not have purchased Columbia stock or options at the
22 || prices they paid, or at all, if they had been aware that the market
23 || prices had been artificially and falsely inflated by defendants’

24} misleading statements.

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1 29. As a direct and proximate result of these de‘endants'
2}}wrongful conduct, Plaintiffs and the other members of the Class
3 suffered damages in connection with their purchases of Columbia

4j}common stock and its publicly traded options during the Class

5} Period.
6 SECOND CLAIM FOR RELIEF
For Violation Of §20(a) Of The 1934 Act
7 Against All Individual Defendants
8 30. The preceding and superceding paragraphs are incorporated

9 }}herein by this reference.

10 31. Each of the Individual Defendants acted as a controlling
ll person of Columbia within the meaning of §20(a) of the 1934 Act.
12 |} By reason of their positions as officers and directors of Columbia,
13 |and their ownership of Columbia stock, the Individual Defendants
14]}had the power and authority to cause Columbia to engage in the

15 | wrongful conduct complained of herein.

16 THIRD. CAUSE OF ACTION
(Civil RICO)
17 (Against all Defendants)
18
32. The preceding and superceding paragraphs are incorporated
19
herein by this reference.
20
33. During the relevant time frame, Defendants have engaged
21
in at least two acts of racketeering, including, but not limited
22
to, committing wire fraud, mail fraud, and securities fraud.
23
34. In undertaking the aforedescribed actions, Defendants,
24

and each of them, have engaged in a pattern of racketeering
25
activity, pursuant to 18 U.S.C section 1962 (a), (b),(¢) anda (d).

26
Among other things, Defendants’ acts constitute violations of 18

ai
U.S.C sections 1951 (interference with commerce and extortion);

28
1952 (racketeering); 1957 {relating to engaging in monetary

 

 

 

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transactions in property derived from unlawful activity); and 1959
{use of violence in racketeering activities) .

35. In undertaking their unlawful actions, defendants, and
éach of them, have through a pattern of racketeering activity,
become associated with an enterprise engaged in, or the activities
of which affect, interstate or foreign commerce, and have conducted
ox participated in the conduct of the affairs of said enterprise.

36. In undertaking their unlawful actions, Defendants, and
each of them, have violated and conspired to violate the provisions
of 18 U.S-C. 1962 (a), (b), (c) and (d).

37. By reason of the foregoing, Plaintiffs have been injured
in their business or property in an amount which cannot be
presently ascertained. Among other damages and injuries,
Plaintiffs have sustained economic damages by virtue of their
investments in Columbia.

38. As a result of the foregoing, Plaintiffs are entitled to
treble damages, plus interest, in an amount to be determined; costs
of this suit, and attorneys fees.

ORT E ACTIO
(California Corporations Code section 25400, et seq.)
(Against all Defendants)

39. The preceding and superceding paragraphs are incorporated
herein by this reference.

40. California Corporations Code section 25401 makes it
unlawful for any person to offer or sell a security in Calfornia
or buy or offer to buy a security in California by means of any

written or oral communication which contains an untrue statement of

material fact or omits to state a material fact necessary in order

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l|jto make the statements made, in the light of the circumstances
2 {jundex which they were made, not misleading.
3 41. Defendants, by the acts herein complained of, sold or
4} caused to be sold Columbia securities in Calfornia by means of
5 | written and/or oral communications containing untrue statements of
6 |} material fact and/or omitting to state material facts necessary in
7l}order to make the statements made, in the light of the
8 | circumstances under which they were made, not misleading.
9]}Defendants thus are in violation of California Corporations Code
10 | section 25401.
11 42. California Corporations Code section 25402 makes it
12} unlawful for any issuer or person who is an officer, director or
13 |} controlling person of any issuer or any other person whose
14}}relationship to the issuer gives him access, directly or
15} indirectly, to material information about the issuer not generally
16 | available to the public, to purchase or sell any security of the
17 ]}/ issuer in this state at a time when he knows material information
18 jf}about the issuer gained from such relationship which would
19} significantly affect the market price of that security and which is
20 |/not generally available to the public, and which he knows is not
21" intended to be so available, unless he has reason to believe that
22 | the person selling to or buying from him is also in possession of
23 | the information.
24 43. Defendants, who were officers, directors or controlling
25|/ persons of Columbia, had access, directly or indirectly, to
26 material information about the issuer not generally available to
27 the public. Defendant, by the acts herein complained of, purchased

28 lland/or sold securities of Columbia in California at & time when

 

 

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Lj they knew material information about the issuer gained from such
2 relationship that would significantly affect the market price of
3} Columbia common stock and which was not generally available to the
4]}public, and which they knew was not intended to be so available.
S|} Defendants had no reason to believe that the person selling to
6} and/or buying from them also had possession of the information.
7? ]| Defendants thus are in violation of California Corporations Code
8 |} section 25402.

9 44, Under section 25501, defendants are liable to plaintiffs
10 for rescission and/or damages for their violations of section
11925401. Under section 25502, defendants are liable to plaintiffs

12 | for damages for their violations of section 25402,

13 FIFTH CAUSE OF ACTION
(Common Law Fraud)
14 (Against All Defendants)
15 45. The preceding and superceding paragraphs are incorporated

16 herein by this reference.

17 46. Defendants knew that the representations they made to
18 fiplaintiffs regarding Columbia, its finances and prospects were
19|/ false and misleading when made. Defendants also knew that the
20 f ommissions of material fact made to plaintiffs regarding Columbia,
21 | its finances and prospects, were false and misleading when made.
22 47. Defendants made these false representations, and omitted
23llto state material facts, with the express purpose of inducing
24] plaintiffs to invest and purchase shares in Columbia.

25 48. Plaintiffs reasonably relied on Defendants' false
26 || representations, and on their omissions to state material facts, to

27 | invest in and puirchase shares of Columbia.

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1 49. As a result of the false representations and omissions of

Z|) Defendants, plaintiffs were injured.

3 IXT USE ACTI

(Unfair Business Practices, California Business

4 and Professions Code section 17200, et seq.)

5 | (Against all Defendants)

- 50. The preceding and superceding paragraphs are incorporated
4 herein by this reference.

: 51. Defendants have engaged in improper or illegal activities
5 which amount to unfair business practices, under Business and
1 Professions Code section 17200, et seq.
1 52. Defendants have solicited and collected money from members
D of the public (including residents of California) for investments
- in Columbia securities. Plaintiffs are informed and believe that
, the money collected by Defendants has been used to further

Defendants' unlawful activities. When investing money in Columbia

, securities, plaintiffs did not know it was furthering defendants’
unlawful activities. Moreover, material information that would
impact on the investing public's decisions on whether or not to
. invest money in Columbia was withheld from investors.
“° 53. The actions of Defendants alleged in this complaint
“° constitute violations of the Unfair Practices Act, California
Business and Professions Code section 17200, et seq. Additionally,
“2 the benefits of Defendants' actions, when weighed against the risk
°° of misleading or harming the public, are far out weighed so as to
a constitute unfair business practices.

°° 54. Pursuant to California Business and Professions Code
6 section 17204, Plaintiffs bring this cause of action on their own
, behalf and on benalf of the public.

 

 

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1 55. In doing the acts alleged, Defendants acted with the intent
2|/and purpose of preying on the public, who are unaware of
3) Defendants' pattern and practice of illegal activities.
4 56. Plaintiffs and the public have no adequate remedy at law,
5|}since many of the unfair acts alleged herein are perpetrated in
6 || secret, without the knowledge of the public. Defendants' acts also
7 serve to divert business of other bona fide organizations and
§ | destroy competition.
9 57. Plaintiffs are informed and believe that the acts
10} of Defendants alleged herein have caused the public damages in
ll flexcess of the jurisdictional limits of this court, and that any
12 ||/further acts by Defendants, unless restrained, will cause
13 ||/irreparable injury and damages to the public and Defendants'
14 || competitors, the exact nature, amount, and extent of which will be
i5 || impossible to ascertain.
16 58. Plaintiffs also seeks an order requiring Defendants to
17 || disgorge profits acquired by means of the unfair business practices
18 | alleged above.
19 59. Plaintiffs are also entitled to a reasonable award

20 | of attorneys fees for acting in the public's interest.

21 SEVENTH CAUSE OF ACTTON
(Conspiracy)
22 (Against all Defendants)
23 60. The preceding and superceding paragraphs are incorporated

24 herein by this reference.

25 61. Plaintiffs are informed and believe and thereon alleges
26f/that, in addition to or in the alternative to acting individually

27 | for their own improper purposes, Defendants, and each of them, also

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1 intentionally conspired with each other to perpetrate the wrongful

2 {and illegal acts alleged herein.

3 62. As direct and proximate result of Defendants' current and
4|/past actions, Plaintiffs have suffered damages in an amount to be

Sj} proved at time of trial.

6 63. Defendants' actions were intentional and done with
7 j| malice. Plaintiffs are, therefore, entitled to an award of

8i}punitive damages pursuant to Civil Code Section 3294 and other

9} applicable law.
10 PLAINTIFFS’ CLASS ACTION ALLEGATIONS
11 64. Plaintiffs bring this action as a class action pursuant
12 |} to Federal Rules of Civil Procedure 23(a) and (b) (3) on behalf of
i3f}a Class consisting of all persons whe purchased shares of Columbia
14 || common stock and its publicly traded options during the period
15 jj January 1, 1988 through December 31, 1999, inclusive (the Class
16 | Period), and who were damaged therebv. Excluded from the Class are
17 || defendants; the officers and directors of the Company during the
18 || Class Period, members of their immediate families, and their legal
19 || representatives, heirs, successors or assigns; and any entity in
20 | which defendants have or during the Class Period had a controlling
21 |) interest.
22 65. The members of the Class are so numerous that joinder of
23] all members is impracticable. While the exact number of Class
24 }members is unknown to plaintiffs at this time and can only be
25 || ascertained through appropriate discovery, plaintiffs believe that
26] there are theusands of members of the Class and that they are
27 | gecgraphically dispersed. As of this filing, there were millions

28 | of shares of Columbia common stock outstanding, which actively

 

 

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Lf traded under the ticker symbol "CLCK" through the NASDAQ bulletin
2 || board.
3 66. Plaintiffs' claims are typical of the claims of the
4)members of the Class, as all members of the Class are Similarly
S| affected by defendants' wrongful conduct in violation of federal
6 |} law and state law that is complained of in this Complaint.
7 67, Plaintiffs will fairly and adequately protect the
S|) interests of the members of the Class and have retained counsel
9} competent and experienced in class action and securities
10 || litigation.
il 68. Common questions of law and fact exist as to all members
i2|/of the Class and predominate over any questions solely affecting
i3 f} individual members of the Class. Among the questions of law and
14 || fact common to the Class are:
15 a) Whether defendants’ acts as alleged herein constitute
16 || violations of the federal securities and state law;
17 b) Whether defendants participated in and pursued the
16 |} common course of conduct complained of herein;
13 c} Whether statements made by defendants to the investing
20 || public during the Class Period misrepresented material facts about
21} the business, finances and operating performance of Columbia;
22 (d) Whether the market price of Columbia's common stock
23 || and options during the Class Period was artificially inflated due
24{[to the material misrepresentations and failure to correct the
25 | material misrepresentations complained of in this Complaint; and
26 (e) Whether the members of the Class have sustained

27 |) damages as a result of defendants’ conduct and, if so, the proper

28 || measure of damages.

 

 

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1 69. A class action is superior to all other available methods
2 || for the fair and efficient adjudication of this controversy, since
3 || joinder of all members is impracticable. Furthermore, as the
4j)damages suffered by individual Class members may be relatively
S|}small, the expense and burden of individual litigation make it
6) impossible for members of the Class to individually redress the
7j}wrongs done to them. There will be no difficulty in the management
8 of this action as a class action.
9 STATUTORY SAFE HARBOR
10 70. The statutory safe harbor provided for forward-looking
Li j| statements under certain circumstances does not apply to any of the
12 allegedly false forward-looking statements pleaded in this
13 | Complaint. The statutory safe harbor does not apply to Columbia's
14 | false financial statements. Also, none of the particular oral
15 | forward-looking statements pleaded herein were identified as
16 {| "forward-looking statements" when made. None of the written
1? | forward-looking statements made were identified as forward-looking
18 || statements. Nor was it stated as to either type of forward-looking
19] statement that actual results “could differ materially from those
20) projected." Nor did meaningful cautionary statements identifying
21 f' important factors that could cause actual results to differ
22 ||materially from those in the forward-looking statements accompany
23 | those forward-looking statements. Each of the forward-looking
24] statements alleged herein to be false was authorized by an
25 | executive officer of Columbia and was actually known by each of the
26 | Individual Defendants to be false when made.
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1 PRAYER FOR RELIEF
2 WHEREFORE, Plaintiffs pray for judgment as follows:
3 A. Declaring this action to be a proper class action

4 jj) pursuant to Rule 23;

5 B. Awarding Plaintiffs and the members of the Class damages,
6 interest end costs {including reasonable attorneys’ fees);

7 C. Awarding equitable and/or injunctive relief as permitted
Si by law or equity, including the imposition of a constructive trust
9 jf} upon the proceeds of defendants' insider trading, pursuant to Rules
10] 64, 65, and any appropriate state law remedies, and an order
11 || requiring Defendants to disgorge all profits and/or contributions

12 | obtained as a result of unfair practices; and

  
  

13 D. Awarding such other relief as the Court may deem just and
14 || proper.

15 JURY DEMAND

16 Plaintiffs demand a trial by jury.

17 DATED this 28th day of July, 20

18 THOMAS
Df MAURIELLO, APC
20 425 Market Street, Suite 2200

San Francisco, CA 94105
21 Telephone: 415/955-2615

 

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